Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 1 of 48 Page ID #:6




                 Exhibit 1
Electronically FILED by Superior Court of California, County of Los Angeles on 03/26/2021 02:25 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
                   Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 2 of 48 Page ID #:7
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 3 of 48 Page ID #:8
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 4 of 48 Page ID #:9
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 5 of 48 Page ID #:10
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 6 of 48 Page ID #:11
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 7 of 48 Page ID #:12
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 8 of 48 Page ID #:13
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 9 of 48 Page ID #:14
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 10 of 48 Page ID #:15
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 11 of 48 Page ID #:16
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 12 of 48 Page ID #:17
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 13 of 48 Page ID #:18
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 14 of 48 Page ID #:19
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 15 of 48 Page ID #:20
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 16 of 48 Page ID #:21
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 17 of 48 Page ID #:22
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 18 of 48 Page ID #:23
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 19 of 48 Page ID #:24
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 20 of 48 Page ID #:25
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 21 of 48 Page ID #:26
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 22 of 48 Page ID #:27
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 23 of 48 Page ID #:28
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 24 of 48 Page ID #:29
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 25 of 48 Page ID #:30
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 26 of 48 Page ID #:31
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 27 of 48 Page ID #:32
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 28 of 48 Page ID #:33
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 29 of 48 Page ID #:34
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 30 of 48 Page ID #:35
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 31 of 48 Page ID #:36
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 32 of 48 Page ID #:37
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 33 of 48 Page ID #:38
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 34 of 48 Page ID #:39
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 35 of 48 Page ID #:40
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 36 of 48 Page ID #:41
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 37 of 48 Page ID #:42
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 38 of 48 Page ID #:43
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 39 of 48 Page ID #:44
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 40 of 48 Page ID #:45
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 41 of 48 Page ID #:46
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 42 of 48 Page ID #:47
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 43 of 48 Page ID #:48
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 44 of 48 Page ID #:49
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 45 of 48 Page ID #:50
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 46 of 48 Page ID #:51
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 47 of 48 Page ID #:52
Case 2:21-cv-05842-DSF-MAA Document 1-1 Filed 07/20/21 Page 48 of 48 Page ID #:53
